           Case 2:15-cv-01572-APG-DJA Document 248 Filed 02/07/23 Page 1 of 2



1    AARON D. FORD
       Attorney General
2    Craig Newby (Bar. No. 8591)
       Chief Litigation Counsel
3    Kiel B. Ireland (Bar No. 15368)
       Deputy Solicitor General
4    Office of the Attorney General
     100 N. Carson St.
5    Carson City, NV 89701
     (775) 684-1234 (phone)
6    (775) 684-1108 (fax)
     cnewby@ag.nv.gov
7    kireland@ag.nv.gov

8    Attorneys for Defendants State of Nevada,
     James “Greg” Cox, Timothy Filson,
9    Dwight Neven, and Ronald Oliver

10

11                           UNITED STATES DISTRICT COURT

12                                     DISTRICT OF NEVADA

13   VICTOR PEREZ, as Special Administrator CASE NO. 2:15-cv-01572-APG-DJA
     of the Estate of CARLOS PEREZ,
14   deceased; VICTOR PEREZ, as Guardian
     Ad Litem for S.E.P., a minor; VICTOR
15   PEREZ, as Guardian Ad Litem for A.I.P., a
     minor,
16
                         Plaintiffs,
17                                                 DEFENDANTS COX AND FILSON’S
     vs.                                           REQUEST TO REMOTELY ATTEND
18                                                   SETTLEMENT CONFERENCE
     STATE OF NEVADA, ex.rel. NEVADA
19   DEPARTMENT OF CORRECTIONS;
     DIRECTOR GREG COX, individually;
20   WARDEN DWIGHT NEVEN, individually;
     ASSISTANT WARDEN TIMOTHY
21   FILSON, individually; COT. RAMOS,
     individually; LIEUTENANT OLIVER,
22   individually; CORRECTIONS OFFICER
     CASTRO, individually; CORRECTIONS
23   OFFICER SMITH, individually; and
     DOES I-X, inclusive; and ROES I-X,
24   inclusive,

25                       Defendants.

26          Defendants Greg Cox and Timothy Filson (collectively, the “Out-of-State

27   Defendants”), by and through counsel, pursuant to this Court’s order, ECF No. 245, at 2,

28   request to remotely attend the February 24, 2023 settlement conference.



                                            Page 1 of 2
          Case 2:15-cv-01572-APG-DJA Document 248 Filed 02/07/23 Page 2 of 2



1          The Out-of-State Defendants are retired and no longer reside in Nevada. They would

2    have to travel a substantial distance to attend the conference in person. Nevada law

3    obligates the State to indemnify both of them, so neither will be personally responsible for

4    paying any settlement amount. See NRS 41.0349. State officials with authority to settle

5    and pay Plaintiffs’ claims will attend the settlement conference in person.

6          The Out-of-State Defendants will ensure their availability for the duration of the

7    settlement conference and can attend remotely via Zoom or a similar platform. If the Court

8    cannot facilitate remote attendance, counsel can do so. Counsel will ensure that the Out-

9    of-State Defendants can participate in all caucuses and Court sessions, and that they can

10   authorize any settlement reached.

11         DATED this 7th day of February, 2023.

12
                                            AARON D. FORD
13                                          Attorney General
14
                                            By: /s/ Kiel B. Ireland
15                                             Craig Newby (Bar No. 8591)
                                               Chief Litigation Counsel
16                                             Kiel B. Ireland (Bar No. 15368)
                                               Deputy Solicitor General
17                                             Attorneys for Defendants, State of Nevada,
                                               James “Greg” Cox, Timothy Filson,
18                                             Dwight Neven, and Ronald Oliver
19

20

21

22

23

24

25

26

27

28



                                             Page 2 of 2
